                        of all or substantially all of CoinLab assets (or all or substantially all of the
                        CoinLab assets relating to this Agreement); or (Hi) a successor by merger or
                        other combination. Any purported assignment in violation of this Section will be
                        void.

                    b. Governing Law. This Agreement will be governed and interpreted in
                        accordance with Seychelles law. Any dispute relating to the terms,
                        interpretation, or performance of this Agreement or the dealing of the parties
                        under this Agreement will be resolved at the request of either party through
                        binding arbitration. Arbitration will be conducted in the city of Seattle
                        Washington under the rules and procedures of the American Arbitration
                        Association ("AAA").

                    c. Force Majeure. Neither party will be deemed in default of this Agreement to
                        the extent that performance of its obligations or attempts to cure any breach
                        are delayed or prevented by reason of any act of God, fire, natural disaster,
                        accident, act of government, shortages of materials or supplies, internet
                        outages or other cause beyond the control of such party ("Force Majeure")
                        provided that such party makes commercially reasonable efforts to promptly
                        notify the other. In the event of such Force Majeure, the time for performance
                        or cure will be extended for a period equal to the duration of the Force
                        Majeure.

                    d. Relationship of parties. The parties are independent contractors and have no
                        authority to act on behalf of or bind the other. This Agreement does not create
                        an employment, agency, or partnership relationship or grant a franchise.

                    e. Entire Agreement. This Agreement states the entire agreement between the
                        parties on the subject and supersedes all prior negotiations, understandings,
                        and agreements between the parties concerning the subject matter. No
                        amendment or modification of this Agreement will be made except by a writing
                        signed by both parties.

                    f. Counterparts. This Agreement may be executed in two or more counterparts,
                        each of which will be deemed an original and all of which together will
                        constitute one instrument.

        So agreed by the parties:

        CoinLab                                          [Customed ^^
        By:                                              BY:             ^S^^^
        Printed Name: Peter Vessenes N                   Printed Name: Jon Chin
        Title: CEO                                       Title:
       .52!!: \Z.-yl-Z/)IX*                              Date: lZ'l£-Z0l2




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